Case 5:17-cv-00070-MFU-JCH Document 15 Filed 02/22/18 Page 1 of 13 Pageid#: 87




                  IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF VIRGINIA
                          HARRISONBURG DIVISION

VENICE PI, LLC,                     Case No. 5:17-cv-00070-MFU


            Plaintiff,              COMPLAINT

      vs.                           COPYRIGHT (17 U.S.C. §101)

AKRAM ALGHAMDI,
TIMOTHY BLUM, NIKOLAI
OSTENDORP, LASHAWN-
TEDDRA HEPBURN, JUDY
BLACKWELL, AND
CYNTEAH GIDDINGS

            Defendants.

              COMPLAINT FOR COPYRIGHT INFRINGEMENT

      Plaintiff, Venice PI, LLC (“Venice”), by and through its undersigned

counsel, for and as its Complaint against Defendants, alleges as follows:

                           JURISDICTION AND VENUE

1.    This is a civil action seeking damages and injunctive relief for copyright

infringement under the Copyright Law of the United States (17 U.S.C. §101 et

seq.). As set forth in greater detail below, this action involves the unauthorized

acquisition, copying and distribution of the copyrighted motion picture Once Upon a

Time in Venice (2017) (“Once Upon a Time in Venice” herein) by each Defendant.

2.    This Court has jurisdiction under 17 U.S.C. §101 et seq.; 28 U.S.C. §1331
Case 5:17-cv-00070-MFU-JCH Document 15 Filed 02/22/18 Page 2 of 13 Pageid#: 88




(federal question); and 28 U.S.C. §1338(a) (copyright).

3.    Venue in this District is proper under 28 U.S.C. §1391(b) and/or 28 U.S.C.

§1400(a). Upon information and belief, each Defendant resides in this District, may

be found in this District and/or a substantial part of the acts of infringement

complained of herein occurred in this District.

4.    On information and belief, personal jurisdiction in this District is proper

because each Defendant, without consent or permission of Plaintiff as exclusive

rights owner, within this District, reproduced, distributed and offered to distribute

among others over the Internet the copyrighted Once Upon a Time in Venice,

owned by Plaintiff. Plaintiff has used geolocation technology to trace the Internet

Protocol (“IP”) address of each Defendant to a point of origin within this District.

On information and belief, each Defendant has an IP address based in this

District and resides in or committed copyright infringement in this District.

5.    In the alternative, this Court has personal jurisdiction over non-resident

Defendants, if any, under the Virginia long-arm statute, Va. Code § 8.01-328.1,

because they downloaded copyrighted content from or uploaded it to Virginia

residents located in this District, thus committing a tortious act within the

meaning of the statute.



                                   THE PARTIES


                                            2
Case 5:17-cv-00070-MFU-JCH Document 15 Filed 02/22/18 Page 3 of 13 Pageid#: 89




                                    THE PLAINTIFF

6.     Plaintiff Venice is a Nevada Limited Liability Company with principal

offices in Los Angeles, California and an affiliate of Voltage Pictures, a

production company with a notable catalog of award winning major motion

pictures. www.voltagepictures.com.

7.     Plaintiff is the owner of the copyright and/or the pertinent exclusive rights

under copyright in the United States in Once Upon a Time in Venice, which has been

unlawfully distributed over the Internet by Defendants.

                                  THE DEFENDANTS

8.     The Defendants identified herein as Does 1-15 are currently known by their

respective Internet Protocol (“IP”) addresses that were each observed by Plaintiff’s

investigator, Maverickeye, (www.maverickeye.de) as distributing Plaintiff’s motion

picture.

9.     Through geolocation, the IP addresses used by the Defendants have been

traced to the State of Virginia and this judicial district.

10.    Each Defendant has been observed and confirmed as distributing Plaintiff’s

motion picture and other copyrighted content persistently and consistently on

hundreds of occasions over an extended period of several months.

11.    In addition to Plaintiff’s motion picture Once Upon a Time in Venice,

certain of the Doe Defendants have been observed and confirmed to be actively


                                               3
Case 5:17-cv-00070-MFU-JCH Document 15 Filed 02/22/18 Page 4 of 13 Pageid#: 90




distributing other copyrighted titles.

12.   The Defendants’ IP addresses have been observed associated with the

distribution of numerous other copyrighted titles.

13.   The volume of activity and titles associated with each Defendant’s IP

address indicates that each Defendant is likely the primary subscriber or someone

who resides with the subscriber as such activity indicates each Defendant is an

authorized user of the IP address with consistent and permissive access.

14.   The volume of activity and titles associated with Defendants’ IP addresses

indicates that no Defendant is a young child.

15.   More than 30 days prior to filing the present suit certain of the Defendants

were sent one or more notices pursuant to 17 U.S.C. 512(a), a/k/a DMCA Notice,

informing such Defendants of the wrongful nature of their conduct and requesting

they terminate their infringing activity.

16.   Despite such notice certain Defendants persisted in infringing the rights of

Plaintiff and others, including the repeated selection, download and distribution of

new content in violation of the Copyright Act and continues to do so as of the

filing of this Complaint.

17.   Each Defendant’s IP address was at that time of observed infringement

managed by Internet Service Provider (“ISP”) Comcast, who on information and

belief generally assigns an IP address to a single party for extended periods of


                                            4
Case 5:17-cv-00070-MFU-JCH Document 15 Filed 02/22/18 Page 5 of 13 Pageid#: 91




time, often for months, and provides Wi-Fi systems with notable pre-installed

security and passwords.

18.   Upon information and belief, Comcast provides notices and information to its

customers about the importance of security, informing them that they are

responsible for the activity associated with their account and cautioning

subscribers against allowing third party or non-authorized access.

19.   The records maintained by Comcast has identified each Defendant as the

subscriber who contracted with the ISP for service who in turn is likely to be the

infringer.

20.   The names of each Defendant was provided to Plaintiff by Comcast based

upon their assigned Internet Protocol (“IP”) address at the time at which the

infringing activity of each Defendant was observed. Plaintiff further believes that

additional information obtained will lead to the identification of additional infringing

parties, as monitoring of online infringement of Once Upon a Time in Venice is

ongoing.

                             ALLEGATIONS.

21.   Once Upon a Time in Venice is a motion picture released in June of 2017

about a private investigator who must follow a bizarre and comic path to recover

his stolen dog.

22.   Once Upon a Time in Venice, produced under the working title Going


                                            5
Case 5:17-cv-00070-MFU-JCH Document 15 Filed 02/22/18 Page 6 of 13 Pageid#: 92




Under, is protected by the Copyright Act and registrations including

TXu001968528, June 25, 2015 and the pending application dated January 23,

2017. Exhibit A.

23.   Under The Copyright Act, Venice is the proprietor of copyrights and related

interest needed to bring suit.

24.   Once Upon a Time in Venice contains wholly original material that is

copyrightable subject matter under the laws of the United States.

25.   Defendants had notice of plaintiff’s rights through general publication and

advertising and more specifically as identified in the content of Once Upon a Time

in Venice, advertising associated therewith and copies, which bore a proper

copyright notice.

26.   Venice comes to court seeking relief as the motion picture Once Upon a

Time in Venice, is being pirated and trafficked in the BitTorrent network and is

being illegally downloaded and distributed countless times worldwide with many

confirmed instances of infringing activity traced to the Western District of Virginia.

27.   The Defendants are currently known by an assigned Internet Protocol (“IP”)

address that was observed by Plaintiff’s investigator, Maverickeye, as distributing

Once Upon a Time in Venice.

28.   Through geolocation, the IP addresses used by the Defendants have been

traced to the Commonwealth of Virginia and this judicial district.


                                            6
Case 5:17-cv-00070-MFU-JCH Document 15 Filed 02/22/18 Page 7 of 13 Pageid#: 93




             PEER-TO-PEER INTERNET PIRACY IN GENERAL

                                      Operation

29.   BitTorrent, also known as peer-to-peer file sharing, has become one of the

most common systems for users to illegally dispense and share huge amounts of

data in digital format, including motion pictures.

30.   The BitTorrent protocol enables computers to exchange large files (such as

motion pictures) without creating a heavy workload for any individual

source/computer. It allows users to interact directly with each other to: (1) make

files stored on a user’s computer (e.g., motion pictures) available for copying by

other users; (2) search for files stored on other computers; and (3) transfer exact

copies of files from one computer to another over the Internet.

31.   The use of BitTorrent requires multiple intentional acts. A user must load

specific software, use the software to join the network, search for a file, and then

select the file they wish to download. As each user or peer joins the network and

requests a copy of a file, they form a type of social contract to not only download

the file, but to be a part of the network to allow the file to be downloaded by

others. Each new peer requesting the file receives pieces of the data from each

peer who already has downloaded the file, and then in turn makes that content

available to others.

32.   Since the BitTorrent protocol also generally limits a peer’s ability to


                                           7
Case 5:17-cv-00070-MFU-JCH Document 15 Filed 02/22/18 Page 8 of 13 Pageid#: 94




download unless he or she also uploads or shares, there is substantial incentive for

each peer to remain online and continue to make files available for other peers to

download because this will maximize his or her download speed and access to

additional content.

33.   The Defendants in this action have been observed as making Once Upon a

Time in Venice available to others in furtherance of the BitTorrent network.

                                 The Business of Piracy

34.   Internet piracy and in particular BitTorrent piracy, though known as peer-

to-peer file sharing, is often a for-profit business as many software clients, torrent

sites and networks generate millions of dollars in revenue through sales and

advertising.

35.   To increase the value of the advertising and sometimes subscription access

sold by torrent sites, many parties work to expand the pool of available titles and

speed of downloads available by increasing the number of member peers and thus

the desirability of their clients and networks. To accomplish this they often

reward participants who contribute by giving them faster download speeds, greater

access, or other benefits.

36.   Defendants’ participation in the BitTorrent exchange of Once Upon a Time

in Venice is the type of activity that torrent sites use to promote their business and

likely directly furthered the for-profit business of at least one torrent site.


                                             8
Case 5:17-cv-00070-MFU-JCH Document 15 Filed 02/22/18 Page 9 of 13 Pageid#: 95




37.   Many parties, and possibly on or more of the Defendants, have been

compensated for their participation in expanding the availability of pirated content

to others through BitTorrent networks, including Once Upon a Time in Venice,

even if only through being granted greater access to other pirated content.

38.   The use of BitTorrent does more than cause harm through the simple theft

of intellectual property. The BitTorrent distribution of pirated files is a model of

business that profits from theft through sales and advertising and provides a

system of rewards and compensation to the participants, each of whom contribute

to and further the enterprise.

39.   Based on activity observed associated with the Defendants’ IP addresses,

one or more of the Defendants are prolific proponents of the BitTorrent

distribution system advancing the BitTorrent economy of piracy.

                             Harm to Plaintiff and Others

40.   Digital piracy, including BitTorrent piracy costs the entertainment industry

over $80 billion per year.

41.   Nationwide the film and television industry supports over 1.9 million

workers and contributes over $19.3 billion in taxes.

42.   As noted by Senator Levin in Congressional hearings on peer-to-peer

Internet piracy, “In the world of copyright law, taking someone’s intellectual

property is a serious offense, punishable by large fines.       In the real world,


                                           9
Case 5:17-cv-00070-MFU-JCH Document 15 Filed 02/22/18 Page 10 of 13 Pageid#: 96




 violations of copyright law over the Internet are so widespread and easy to

 accomplish that many participants seem to consider it equivalent to jaywalking –

 illegal but no big deal. But it is a big deal. Under U.S. law, stealing intellectual

 property is just that – stealing. It hurts artists, the music industry, the movie

 industry, and others involved in creative work. And it is unfortunate that the

 software being used – called ‘file sharing’ as if it were simply enabling friends to

 share recipes, is helping create a generation of Americans who don’t see the

 harm.”

 43.   The citizens of Virginia have a vested interest in protecting copyrights and

 in particular fighting against piracy of film content as the industry provides over

 12,300 direct jobs and $632 million in wages to its citizens.        See generally,

 http://www.film.virginia.org; http://www.mpaa.org/jobs-economy/.

 44.   The impact of piracy is far greater than the mere loss of a single sale or loss

 due to the distribution of one copy of a motion picture. Piracy undermines the

 economy, job base, and tax base on which our citizens rely and promotes a general

 disregard for the rights of others and the law.

 45.   As such it is clear that giving effect to 17 U.S.C. §§ 101 et seq., and the

 enforcement of intellectual property rights, and in particular the fight against

 counterfeiting and piracy are critical issues of importance to the both the United

 States of America and the State of Virginia.


                                             10
Case 5:17-cv-00070-MFU-JCH Document 15 Filed 02/22/18 Page 11 of 13 Pageid#: 97




                                       COUNT I

                          COPYRIGHT INFRINGEMENT

 46.   Plaintiff incorporates by reference each and every allegation set forth in the

 preceding paragraphs.

 47.   Defendants, without the permission or consent of Plaintiff, copied and

 distributed Once Upon a Time in Venice through a public BitTorrent network.

 48.   Defendants’ actions infringed Plaintiff’s exclusive rights under The

 Copyright Act.

 49.   The conduct of Defendants have been with notice, willful, intentional, in

 disregard of and indifferent to Plaintiff’s rights with the intent to cause Plaintiff

 harm and deprive Plaintiff of royalties and the benefit of Plaintiff’s copyrights.

 50.   As a direct and proximate result of the Defendants’ conduct, Plaintiff’s

 exclusive rights under 17 U.S.C. § 106 have been violated.

 51.   Plaintiff is entitled to damages pursuant to 17 U.S.C. § 504 and attorney

 fees and costs pursuant to 17 U.S.C. § 505.

 52.   The conduct of Defendants is causing and, unless enjoined and restrained

 by this Court, will continue to cause Plaintiff great and irreparable injury.

 53.   Pursuant to 17 U.S.C. §§ 502 and 503, Plaintiff is entitled to injunctive

 relief prohibiting Defendants from further contributing to the infringement of


                                             11
Case 5:17-cv-00070-MFU-JCH Document 15 Filed 02/22/18 Page 12 of 13 Pageid#: 98




 Plaintiff’s copyrights, the economy of piracy, and ordering that Defendants

 destroy all copies of Once Upon a Time in Venice made in violation of Plaintiff’s

 rights.

                                    PRAYER FOR RELIEF

           WHEREFORE, Plaintiff prays for judgment against each Defendant and

 relief as follows:

       A.      For a finding each Defendant willfully infringed Plaintiff’s rights;

       B.     For entry of permanent injunction enjoining each Defendant from direct,

               indirect or contributory infringement of Plaintiff’s rights, except pursuant

               to a lawful license or with the express authority of Plaintiff. And further

               directing each Defendant to destroy all unauthorized copies of Once

               Upon a Time in Venice;

       C.     For entry of permanent injunction enjoining each Defendant from

               supporting the BitTorrent economy of piracy by enjoining each

               Defendant from direct, indirect or contributory infringing file sharing in

               violation of U.S. copyright law;

       D.     Damages pursuant to 17 U.S.C. § 504;

       E.     For Plaintiff’s reasonable costs and attorney fees pursuant to 17 U.S.C. §

               505; and

       F.     For such other and further relief as the Court deems proper.


                                               12
Case 5:17-cv-00070-MFU-JCH Document 15 Filed 02/22/18 Page 13 of 13 Pageid#: 99




                           DEMAND FOR JURY TRIAL

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff

 demands a trial by jury



 DATED: February 22, 2018                      Respectfully submitted,


                                    By:         /s/Dale R. Jensen
                                               Dale R. Jensen (VSB 71109)
                                               Dale Jensen, PLC
                                               606 Bull Run
                                               Staunton, VA 24401
                                               (434) 249-3874
                                               (866) 372-0348 facsimile
                                               djensen@dalejensenlaw.com
                                               Counsel for Venice PI, LLC




                                          13
